          Case 06-90460-JM          Filed 07/10/08        Entered 07/10/08 16:08:40          Doc 30     Pg. 1 of 2
CSD 3000A [11/15/04]
Name, Address, Telephone No. & I.D. No.

Timothy J. Silverman, SBN 145264
Pamela LaBruyere, SBN 159233
SOLOMON, GRINDLE, SILVERMAN & SPINELLA, APC
12651 High Bluff Drive, Suite 300
San Diego, CA 92130                                                                          July 10, 2008
(858) 793-8500; FAX 793-8263
         UNITED STATES BANKRUPTCY COURT


                 SOUTHERN DISTRICT OF CALIFORNIA
      325 West "F" Street, San Diego, California 92101-6991

In Re
          NAOMI DYE-CHEN aka NAOMI CHEN,
                                                                                BANKRUPTCY NO.   06-02200-M7
                                                            Debtor.

SCOTT M. FOREMAN,
                                                                                ADVERSARY NO.    06-90460-M7
                                                            Plaintiff(s)

v.
                                                                                Date of Hearing: N/A
NAOMI DYE-CHEN aka NAOMI CHEN,                                                  Time of Hearing: N/A
                                                            Defendants(s)       Name of Judge: Hon. James W. Meyers



                     ORDER ON REQUEST FOR COURT TO RETAIN JURISDICTION




           IT IS ORDERED THAT the relief sought as set forth on the continuation pages attached and num bered two (2)

 through 2 with exhibits, if any, for a total of 2 pages, is granted. Motion/Application Docket Entry No. 28 .

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 DATED:      July 10, 2008
                                                                      Judge, United States Bankruptcy Court


 Signature by the attorney constitutes a certification under
 Fed. R. of Bankr. P. 9011 that the relief in the order is the
 relief granted by the court.

 Subm itted by:

 Pam ela LaBruyere
 SOLOMON, GRINDLE SILVERMAN & SPINELLA, APC


 By: /s/ Pam ela LaBruyere
   Attorney for X Movant          Respondent


CSD 3000A
        Case 06-90460-JM         Filed 07/10/08     Entered 07/10/08 16:08:40       Doc 30      Pg. 2 of 2
CSD 3000A [11/15/04](Page 2)
ORDER ON ORDER ON REQUEST FOR COURT TO RETAIN JURISDICTION
DEBTOR: Naomi Dye-Chen                                                              CASE NO.: 06-02200-M7

                                                                                    ADV. NO.:       06-90460-M7



       Plaintiff SCOTT M. FOREMAN and Defendant NAOMI DYE CHEN have entered into a Settlement

Agreement and Release effective as of February 1, 2008 ("Settlement Agreement"). A true and correct copy of the

Settlement Agreement was filed with the court on March 26, 2008. The Settlement Agreement provides that

Defendant shall make payments to Plaintiff until the settlement amount is paid in full. It further provides that in

the event Defendant fails to make any payments, Plaintiff shall be entitled to enter judgment against Defendant.

The Court shall retain jurisdiction over this matter.




CSD 3000A
                                                                     Signed by Judge James W. Meyers July 10,2008
